                                     2:22-cv-02202-JBM-JEH # 3   Page 1 of 1
                                                                                                       E-FILED
                                                                        Tuesday, 04 October, 2022 12:45:52 PM
                                                                                  Clerk, U.S. District Court, ILCD

                                     IN THE UNITED STATES DISTRICT COURT
                                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                                               URBANA DIVISION


PAUL PLOTNER,                       )
                                    )
               Plaintiff,           )
                                    )
      v.                            )                            Case No. 22-2202
                                    )
BOARD OF TRUSTEES OF THE UNIVERSITY )
OF ILLINOIS,                        )
                                    )
               Defendant.           )

                                             NOTICE OF SERVICE

           COMES NOW the Plaintiff, Paul Plotner, by and through his attorney, John A.

Baker, and states the following:

           1. That on October 3, 2022, the Defendant, Board of Trustees of the University of
Illinois, was served pursuant to Rule 4 of the Federal Rules of Civil Procedure, a copy of
the Complaint, Civil Cover Sheet, a Notice of Lawsuit, two Waiver of Service forms, and
a return envelope from the office of the undersigned via certified mail, return receipt
requested. See the attached Notice of Lawsuit and Request for Waiver of Service
forms.

                                                    PAUL PLOTNER, Plaintiff

Date: October 4, 2022                               By:    s/ John A. Baker
                                                          One of his Attorneys

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